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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

PRASAD SHRMANJADUN BHIM,
                                                       Case No. 2:17-cv-765
       Petitioner,                                     Judge Michael H. Watson
                                                       Magistrate Judge Chelsey M. Vascura
       v.

JEFFERSON B. SESSIONS, III, Attorney
General of the United States of America,
United States Department of Justice, et al.,

       Respondents.

                             REPORT AND RECOMMENDATION

       Petitioner, a citizen of Nepal, filed this Petition for a writ of habeas corpus pursuant to 28

U.S.C. § 2241 seeking immediate release from the custody of Immigration and Customs

Enforcement (“ICE”). Petitioner asserts that he is being illegally detained under Zadvydas v.

Davis, 533 U.S. 678 (2001). Petitioner was, at the time he filed this action, incarcerated at the

Morrow County Correctional Facility pursuant to a September 2016 order of removal. However,

the record now reflects that, on October 23, 2017, ICE removed Petitioner from the United States

to Nepal. See Declaration of Amanda Glassburn (ECF No. 12-1, PAGEID # 69); Warrant of

Removal/Deportation (ECF No. 12-2, PAGEID # 71-72.) Therefore, the Petitioner is no longer

in the custody of ICE or in the United States.

       It is well established that federal courts may only adjudicate live cases or controversies.

Hall v. Beals, 396 U.S. 45, 48, 90 S.Ct. 200, 24 L.Ed.2d 214 (1969). Consequently, federal

courts lack jurisdiction to consider a case when it has “‘lost its character as a present, live

controversy’ and thereby becomes moot.” Demis v. Sniezek, 558 F.3d 508 (6th Cir. 2009)

(quoting Hall, 396 U.S. at 48). “Simply stated, a case is moot when the issues presented are no
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longer ‘live’ or the parties lack a legally cognizable interest in the outcome.” Id. (quoting Int'l

Union v. Dana Corp., 697 F.2d 718, 720–21 (6th Cir. 1983)).

       “Several courts have determined that where an alien is released from ICE custody

pending removal from the United States, ‘his petition for relief under Zavydas is moot.’” Labor

v. Ice, Immigration, No. 2:14-cv-200, 2014 WL 3456946, at *1 (S.D. Ohio July 10, 2014)

(quoting Patel v. Streiff, 2008 WL 748396, *2 (S.D. Ala. Mar.18, 2008) (internal quotation

omitted) (dismissing habeas corpus petition as moot upon the petitioner’s removal from the

United States); see also Wu Wei Tong v. Attorney General, No. 2:17-cv-1007, 2017 WL 6497065

(S.D. Ohio Dec. 19, 2017) (same) (citations omitted).

       Therefore, it is RECOMMENDED that Respondent’s Motion to Dismiss and

Supplemental Motion to Dismiss (ECF Nos. 9, 12) be GRANTED and that this action be

DISMISSED, as moot.

                                     Procedure on Objections

       If any party objects to this Report and Recommendation, that party may, within fourteen

days of the date of this Report, file and serve on all parties written objections to those specific

proposed findings or recommendations to which objection is made, together with supporting

authority for the objection(s). A judge of this Court shall make a de novo determination of those

portions of the report or specified proposed findings or recommendations to which objection is

made. Upon proper objections, a judge of this Court may accept, reject, or modify, in whole or

in part, the findings or recommendations made herein, may receive further evidence or may

recommit this matter to the magistrate judge with instructions. 28 U.S.C. § 636(B)(1).

       The parties are specifically advised that failure to object to the Report and

Recommendation will result in a waiver of the right to have the district judge review the Report



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and Recommendation de novo, and also operates as a waiver of the right to appeal the decision of

the District Court adopting the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140

(1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).

       The parties are further advised that, if they intend to file an appeal of any adverse

decision, they may submit arguments in any objections filed, regarding whether a certificate of

appealability should issue.

                                                      /s/ Chelsey M. Vascura___
                                                      CHELSEY M. VASCURA
                                                      UNITED STATES MAGISTRATE JUDGE




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